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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

MICHELE ELLEN SCALPI, — HON. KENNETH M., KARAS
Plaintiff,
-against-
POLICE OFFICER TINA AMORIM, Case No. 14-CV-02126 (KMK)(PED)
Defendant. |
x

 

MEMORANDUM OF LAW IN SUPPORT OF MOTION
ON BEHALF POLICE OFFICER TINA AMORIM

 

Yours, etc.,

DRAKE LOEB, PLLC

Attorneys for Defendant,

POLICE OFFICER TINA AMORIM
555 Hudson Valley Avenue, Suite 100
New Windsor, New York 12553

Tel. No.: (845) 561-0550

OF COUNSEL:

Adam L. Rodd, Esq.

DRAKE LOEB™
555 Hudson Valley Avenue, Suite 100, New Windsor, New York 12553
Phone: 845-561-0550

 
 

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DRAKE LOEB™
555 Hudson Valley Avenue, Suite 100, New Windsor, New York 12553
Phone: 845-561-0550

 
 

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2016)

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DRAKE LOEB™
555 Hudson Valley Avenue, Suite 100, New Windsor, New York 12553
Phone: 845-567-0550

 
 

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Phillips v. DeAngelis, 571 F.Supp. 2d 347, 353 (N.D.N.Y. 2008)

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*10 (S.D.N.Y. Mar.25, 2009)

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(S.D.N.Y. Oct. 6, 2005)

Wernick v. Federal Reserve Bank of New York, 91 F.3d 379 (2d Cir, 1996)

Wright v. City of Waterbury, No. 3:07-CV-306 CFD, 2011 WL 1106217, at *7 (D. Conn. Mar.
23, 2011)

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Vehicle and Traffic Law §511

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DRAKE LOEB"
555 Hudson Valley Avenue, Suite 100, New Windsor, New York 12553
Phone: 845-561-0550

 
 

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1. INTRODUCTION

The plaintiff Michele Scalpi (hereinafter “plaintiff *) commenced this lawsuit in March of
2014, and initially asserted multiple wide-ranging claims against multiple defendants.
Ultimately, and following the service of various motions to dismiss, all of the plaintiff's claims,
against all of the defendants, were dismissed, except for the plaintiff’s allegations asserting an
unreasonable seizure, and the use of excessive force, by Police Officer Maria Amorim (s/h/a
Police Officer Tina Amorim, and hereinafter “Officer Amorim”) relating to an arrest which
occurred on March 17, 2014. For the reasons set forth in the instant moving papers, the
remaining claims against Officer Amorim are without merit, and an Order granting Officer
Amorim summary judgment is warranted based on the record presented herein, and the
governing law.
II. SUMMARY OF UNDISPUTED FACTS

The plaintiff was arrested for speeding and for driving without a license on February 5,
2011 in the Town of East Fishkill by a Police Officer Tarpey of the Town of East Fishkill Police
Department. Exhibit “E.”! During the course of the prosecution of those charges in the Town of
East Fishkill Town Court, the plaintiff failed to appear in Town Court for a required appearance
on April 24, 2013. Accordingly, on that date, Judge Romig of the Town of East Fishkill Town
Court issued a Bench Warrant authorizing the plaintiffs arrest. Exhibit “F.”

Thereafter, on March 17, 2014, in Columbia County, the plaintiff was again stopped and
arrested for speeding and driving without a license by Police Officer Seresky of the New York
State Park Police. Exhibit “G.” A background data check performed by Police Officer Seresky

during this traffic stop revealed numerous prior suspensions, as well as the open Bench Warrant

 

1 All Exhibits referred to in this Memorandum of Law are included in the document entitled “Exhibit List Submitted
by Defendant Police Officer Tina Amorim,” submitted herewith.

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issued by Judge Romig. Exhibit “G.” Arrangements were accordingly made to have the plaintiff
transferred to the Town of East Fishkill Police Department pursuant to Judge Romig’s Bench
Warrant. Exhibit “G.”

Shortly after 3 p.m. on March 17, 2014, Officer Amorim met Police Officer Seresky at
the James Baird State Park (located in Pleasant Valley, New York) to arrest the plaintiff in
accordance with the Judge Romig’s Bench Warrant. Exhibit “H’ and “J.” At the James Baird
State Park, Officer Amorim conducted a pat-down search of the plaintiff, and applied handcuffs,
prior to placing the plaintiff in Officer Amorim’s assigned police vehicle. Officer Amorim then
drove the plaintiff from the James Baird State Park to the Town of East Fishkill Police
Department. Upon arrival at the Town of East Fishkill Police Department, Officer Amorim
removed the handcuffs from the plaintiff in order to allow the plaintiff to use the bathroom.

As indicated below, the sole remaining claims of the plaintiff against Officer Amorim
assert that: (a) the manner in which Officer Amorim performed a pat-down search of the plaintiff
at the James Baird State Park amounted to an unreasonable seizure and/or the use of excessive
force, and (b) Officer Amorim used excessive force in the manner in which she removed
handcuffs from the plaintiff at the Town of East Fishkill Police Department.

IH. PROCEDURAL POSTURE OF CASE AND RELEVANT PLEADED
ALLEGATIONS

The plaintiff filed her instant lawsuit with this Court on March 26, 2014. Exhibit “A,”
With respect to the plaintiffs initially asserted factual claims, the plaintiff's original Complaint
alleged, inter alia, that: she was harassed, threatened, and stalked by persons from the Dutchess
County Sheriff’s Office in the 1990’s (Exhibit “A,” [J 14 to 20); she was pulled over, and then
charged for driving without a license in February of 2011, but that it was wrongful for any party

to require the plaintiff to carry a valid driver’s license when driving (Exhibit “A,” {23 to 34);

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when she was arrested on March 17, 2014, she was subjected to a rough and excessive search by
Officer Amorim (Exhibit “A,” J] 41 to 47); she was not provided with Miranda warnings when
arrested on the March 17, 2014 date (Exhibit “A,” J 49); on the March 17, 2014 date she
experienced pain because she was “cuffed behind the back for a long period of time” (Exhibit
“A,” 4] 54 to 57); she was subjected to the twisting of her left hand with force by Officer
Amorim when handcuffs were removed on the March 17, 2014 date, resulting in left shoulder
pain (Exhibit “A,” {9 59 to 65); when she used the bathroom on March 17, 2014 at the Town of
East Fishkill Police Department she noticed her “menstrual cycle happening,” but was not
provided with a sanitary napkin, and used toilet paper instead (Exhibit “A,” [{ 69 to 74); after
she was transferred from the Town of East Fishkill Police Department to the custody of the New
York State Troopers she was denied water and food (Exhibit “A,” {ff 84 to 87); she complained
to the New York State Troopers that she “had toilet paper stuck to my gentiles (sic) because East
Fishkill Police would not provide a sanitary napkin,” and was also denied a sanitary napkin by
the New York State Troopers (Exhibit “A,” {{]] 88 to 89); when she was transferred to the Orange
County Jail, she complained that she experienced extreme burning because she “had toilet paper
in my pants all day as I was denied sanitary needs from all police,” and was again denied a
sanitary napkin (Exhibit “A,” §{ 102 to 103); she experienced pain on March 19, 2014 when she
appeared at the Town of East Fishkill Town Court, and left the Town Court before her case was
called (Exhibit “A,” 9] 127 to 151); and that she received medical evaluations for her claimed
shoulder injury on March 19 and 20, 2014 (Exhibit “A,” 4 151 to 160).

The plaintiffs original Complaint asserted the violation her Constitutional rights against
the East Fishkill Police Department, Officer Amorim, the Dutchess County District Attorney,

District Attorney Grady, Assistant District Attorney Knapp, Town Judge Romig, the County of

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555 Hudson Valley Avenue, Suite 100, New Windsor, New York 12553
Phone: 845-561-0550

 
 

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Dutchess, the New York State DMV, the Orange County Jail, New York State Troopers, and the
State of New York. Exhibit “A,” {J 172 to 189.

Following the filing of the plaintiffs original Complaint, and in response to various pre-
motion letters submitted by counsel for the various defendants, this Court issued a Scheduling
Order, on May 19, 2014, setting forth a briefing schedule for the defendants’ motions of dismiss.
Dkt. No. 38. The various defendants named in the plaintiff's original Complaint accordingly
filed motions to dismiss the original Complaint. Dkt. Nos. 40 to 55. The plaintiff, in response to
these motions, thereafter requested permission to amend her Complaint, and said request was
granted by the Court. Dkt. Nos. 72 and 74.

The plaintiff's Amended Complaint was filed on December 31, 2014. Exhibit “B.” See
also, Dkt. No. 75. With respect to the claims relating to and asserted against Officer Amorim
specifically, the plaintiff's Amended Complaint alleges, similar to her original Complaint, that:
Officer Amorim conducted a rough and excessive search of the plaintiff, with contact made to
her genital area, before Officer Amorim transported the plaintiff to the Town of East Fishkill
Police Department (Exhibit “B,” 4] 44 to 47); the plaintiff experienced pain in her shoulders
because she was “cuffed behind the back for a long period of time” (Exhibit “B,” ] 56 to 57);
Officer Amorim twisted the plaintiff's left hand with force while removing handcuffs causing the
plaintiff left shoulder pain (Exhibit “B,” {J 59 to 65); and the plaintiff noticed her “menstrual
cycle happening” when she went to use the bathroom, and accordingly used toilet paper, instead
of a sanitary napkin, because Officer Amorim indicated that she did not have a sanitary napkin
(Exhibit “B,” {f] 69 to 74). The plaintiff's Amended Complaint goes on to allege, as relevant to
the claims asserted against Officer Amorim, that: when she was transported to the NYS Troopers

Barracks after her release from the Town of East Fishkill Police Department, she advised that she

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had toilet paper stuck to her genitals because she was denied a sanitary napkin (Exhibit “B,” 4
88); upon her subsequent transfer from the NYS Troopers Barracks to the Orange County Jail,
she explained to Orange County Jail personnel that she experienced vaginal burning because “I
had toilet paper in my pants all day as I was denied sanitary needs from all police” (Exhibit “B,”
1] 99 to 103); and that she saw medical providers for issues relating to vaginal pain and
shoulder pain on March 18, 19 and 20, 2014 (Exhibit “B,” 120 to 126, and 151 to 161).

The plaintiff's Amended Complaint named as defendants the Town of East Fishkill,
Officer Amorim, Sergeant Fields, Dutchess County District Attorney Grady, Dutchess County
Assistant Attorney Knapp-Pasquale, Town Judge Romig, the County of Dutchess, the New York
State DMV Commissioner Barbara Fields, the County of Orange, Governor Cuomo and Steven
K. Patterson as defendants, and asserted that the defendants violated a multitude of her
Constitutional rights. Exhibit “B.” Thereafter, and following the filing of motions to dismiss the
plaintiff's Amended Complaint, the Court issued several Opinions and Orders which dismissed
all of the plaintiff's claims against Governor Cuomo and New York State DMV Commissioner
Fiala (Dkt. No. 127), Patterson (Dkt. No. 128), the County of Dutchess, Grady and
Knapp/Pasquale (Dkt. No. 130), Orange County (Dkt. No. 131), and the Town of East Fishkill,
Fields and Romig (Dkt. No. 129; Exhibit “C”). With respect to Officer Amorim, the Court
dismissed all claims asserted against her sounding in false arrest, a Miranda violation, and the
alleged unconstitutional conditions of confinement (i.e. not providing water or sanitary napkins;
failing to provide privacy while using the bathroom; and failing to provide medical attention),
However, the Court did not dismiss the claims relating to Officer Amorim’s alleged
unreasonable search of the plaintiff prior to being transported back to the Town of East Fishkill

Police Department, or Officer Amorim’s alleged use of excessive force while removing

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handcuffs upon arrival at the Town of East Fishkill Police Department (Dkt. 129; Exhibit “C”).
In accordance with the supporting Affidavits and other materials submitted with this motion, an
Order granting Officer Amorim summary judgment pursuant to FRCP Rule 56 is warranted °

under the non-disputed facts and governing law presented herein.
IV. SUMMARY JUDGMENT STANDARD

Summary judgment shall be granted if all of the submissions taken together "show that
there is no genuine issue as to any material fact and that the moving party is entitled to judgment
_ asa matter of law." FRCP 56(c). Ona motion for summary judgment, the moving party bears
the initial burden of demonstrating the absence of a genuine issue of material fact. Dallow v.

- Prudential Residential Services, L.P., 22 F.3d 1219 (2d Cir. 1994). Once the moving party

 

establishes its prima facie showing of entitlement to summary judgment, the burden shifts to the.
non-movant to come forward with a sufficient evidentiary material indicating the existence of a
genuine issue of material fact for trial. Matsushita Elec. Indus. Co. Ltd. v. Zenith Radio Corp.,
475 U.S. 574, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986). In this regard, the mere existence of a
scintilla of evidence in support of the non-moving party's position will be insufficient for
purposes of defeating a motion for summary judgment, as there must be evidence on which the
jury could reasonably find for the non-movant. Wernick v. Federal Reserve Bank of New York,
91 F.3d 379 (2d Cir. 1996).

V. THE PLAINTIFF’S CONSTITUTIONAL CLAIMS LACK MERIT AND SHOULD
BE DISMISSED

 

As referenced above, on the March 17, 2014 date, the plaintiff was arrested by Officer
Amorim pursuant to Town Judge Romig’s April 24, 2013 Bench Warrant authorizing the
plaintiff's arrest. Exhibit “H.” In this regard, this Court has already held that the subject arrest

of the plaintiff on the March 17, 2014 date was valid, and dismissed the plaintiff’s asserted “false

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arrest” claim against Officer Amorim. Exhibit “C;” see also, Phillips v. DeAngelis, 571 F.Supp.
2d 347, 353 (N.D.N.Y. 2008)(“No cause of action for false arrest will lie where the arrest was
effected pursuant to an arrest warrant”), aff'd 331 F.App’x 894 (2d. Cir, 2009).

Claims of an unreasonable seizure or excessive force occurring during an arrest implicate
the protections of the Fourth Amendment, which prohibit unreasonable searches and seizures.
Graham v. Connor, 490 U.S. 386, 394, 109 S. Ct. 1865, 1871, 104 L. Ed. 2d 443
(1989)(“[w]here, as here, the excessive force claim arises in the context of an arrest or
investigatory stop of a free citizen, it is most properly characterized as one invoking the
protections of the Fourth Amendment, which guarantees citizens the right ‘to be secure in their

persons ... against unreasonable ... seizures’ of the person”). In the circumstance of a valid arrest,
the law is well-settled that a search of the person arrested does not violate the Fourth
Amendment, See, United States vy. Robinson, 414 U.S. 218, 94 S. Ct. 467, 38 L. Ed. 2d 427
(1973) (holding that in the case of a lawful custodial arrest, a full search of arrestec's person is
not only an exception to the warrant requirement of the Fourth Amendment but is also a
“reasonable” search under that Amendment).

(A) SEARCH AT JAMES BAIRD STATE PARK

 

In this case, the plaintiff initially claims that she was subjected to an unreasonable seizure
and excessive force by Officer Amorim during the course of Officer Amorim’s pat-down search
of the plaintiff at the James Baird State Park. Exhibit “B,” 9 44 to 47. As set forth and detailed
in Officer Amorim’s Affidavit, prior to placing the plaintiff in her assigned police vehicle, she
conducted a pat-down search of the plaintiff which consisted of patting down both of the
plaintiff's legs (on the outside of the plaintiff's jeans), and then, patting-down and sliding her

hands over the back and front of the plaintiff’s hoodie/sweatshirt to check for weapons and

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concealed items. Amorim Affidavit, J] 14 to 17. Officer Amorim’s Affidavit establishes that the
pat-down search transpired over the course of just several seconds, and at no time did she hit,
strike or make contact with the plaintiff's genital area, or touch or grab the plaintiff's breasts or
bra area with the front of her hands, during her brief and non-intrusive pat-down. Amorim
Affidavit, JJ 14 to 16. The lack of contact in this regard, and the brief nature of the pat-down,
was confirmed by Police Officer Seresky. Seresky Affidavit, [J 9 and 10. Further, no mention of
any vagina trauma, or the hitting or striking of the plaintiff’s genital area, is anywhere indicated
in the plaintiff's medical records. See, Exhibit “M.”

At the outset, even crediting the plaintiff's claim that Officer Amorim’s hand made
contact with the plaintiff's genital area during the pat-down search, or, that Officer Amorim
“grabbed” the plaintiff's breasts during this search, these allegations simply do not rise to the
level of severity necessary to constitute an actionable claim for damages under the Fourth
Amendment. As indicated above, in the face of an undisputed valid arrest, Officer Amorim was
authorized to conduct a full search of the plaintiff incident to that arrest. United States v.
Robinson, 414 U.S. 218, 235, 94 S.Ct. 467, 38 L.Ed.2d 427 (1973) (when police effect a lawful
arrest, they may conduct a full search of the arrestee's person without any additional
justification); see also, United States v. McCargo, 464 F.3d 192, 201 (2d Cir. 2006)(“{t]he
justification for the pat-down is not that the suspect is reasonably suspected of being armed; it is
rather a matter of sound police administration: police officers should be certain before
transporting members of the public, whom they do not know, that none of them is armed”). And
the courts have repeatedly recognized that contact with an arrestee’s breasts or genital area
during a pat-down is not alone sufficient to serve as a predicate for a civil claim for damages

against a law enforcement official under Section 1983. See, Golden v. Cty. of Westchester, 2012

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WL 4327652, at *5—-6 (S.D.N.Y. 2012)(holding that plaintiff's claim that officer, during a pat-
down search, touched the plaintiff's breasts and genital area was insufficient to make out a
constitutional violation where search was minimally intrusive, and conducted above the

clothing); Pascual v. Fernandez, 2013 WL 474292, at *6 (S.D.N.Y. 2013)(pat-down search

 

incident to arrest involving the touching, by a male officer, of a female arrestee’s breasts,
buttocks and inner thigh area, is not sufficient to give rise to a constitutional violation); Wright v.
City of Waterbury, 2011 WL 1106217, at *7 (D. Conn, 2011)(claim that officer palm cupped
arrestee’s groin area on two occasions during frisk does not rise to the level of unreasonableness
required for a Fourth Amendment violation); Garcia v. N.Y. State Police Investigator Aguiar,
138 F.Supp.2d 298, 303-04 (N.D.N.Y.2001) (dismissing female plaintiff's Fourth Amendment
sexual assault claims against a male police officer who “cupped” the plaintiff's crotch and breasts
during a pat frisk),; Fontana v. Haskin, 262 F.3d 871, 880 (9th Cir. 2001)(“...not every truthful |
allegation of sexual bodily intrusion during an arrest is actionable as a violation of the Fourth
Amendment. Some bodily intrusions may be provably accidental or de minimis and thus
constitutionally reasonable”).

To the extent that the plaintiff claims that the impact she felt to her genital area during
Officer Amorim’s pat-down search constituted the use of “excessive force,” any such allegation
remains non-viable on the record presented herein. First, and as noted above, a minor and
incidental contact with an arrestee’s genital area, as alleged here, is insufficient to make out a
Fourth Amendment violation. See, Burke v, Cicero Police Dep't, 2010 WL 1235411
(N.D.N. Y.2010) (dismissing claim where male defendant “patt[ed] and squeeze[ed]” plaintiff's
legs and “breasts on down”).

Moreover, even if the allegations of the plaintiff could, arguendo, be characterized as

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more than minor or incidental, there was simply no injury resulting from Officer Amorim’s
search at the James Baird State Park of sufficient severity to support an actionable Fourth
Amendment violation. As indicated in the Milford Hospital records, the plaintiff reported no
“trauma” or “force” at all to her vaginal area; to the contrary, the plaintiff simply reported a
burning sensation in her vaginal area resulting from the use of toilet paper instead of a sanitary
napkin for her menstrual period. Exhibit “M.” To the extent that the plaintiff's vaginal injury
resulted from the lack of a sanitary napkin - as the plaintiff's medical records, and her own
pleadings indicate - any such claim is non-viable since this Court has already held that the failure
to provide the plaintiff with a sanitary napkin was legally insufficient to show a viable conditions
of confinement claim. Exhibit “C.” And, even if it is assumed, for the sake of argument, that the

| plaintiff could show that Officer Amorim made contact with the plaintiff's genital area that
caused her pain, the plaintiff conceded that her pain entirely resolved within a couple of days of
the incident. Exhibit “L,” at p. 97, lines 13 to 16. The transient and temporary nature of this
minor pain is legally insufficient to make out a viable excessive force claim. Lemmo v. McKoy,
2011 WL 843974, at *5 (E.D.N.Y. 2011) (‘[T]he Second Circuit and district courts in the
Circuit recognize the concept of ‘de minimis ’ injury and, when the injury resulting from alleged
excessive force falls into that category, the excessive force claim is dismissed”); See also, Schy
v, State of Vermont, 2 F. App’x 101, 103 (2d Cir. 2001)(“...not every infliction of pain reaches
the level of a constitutional violation”).

(B} REMOVAL OF HANDCUFFS AT TOWN OF EAST FISHKILL POLICE
DEPARTMENT

The plaintiff's claim relating to the alleged use of excessive force by Officer Amorim
during the course of removing handcuffs at the police station also fails to constitute a viable

Constitutional wrong. Here, the incident in question is depicted on police surveillance video,

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and same clearly establishes that Officer Amorim simply raised the plaintiff's left arm to
facilitate removing a handcuff from the plaintiff's left wrist, a maneuver that cannot be fairly
characterized as involving the application of “force,” much less “excessive force.” Exhibit “Q,”
Amorim Affidavit, §] 20 and 21.

In any event, even assuming, for the sake of argument, that the maneuver at issue did
involve the application of some degree of force, and even further assuming that the maneuver did
cause some level of pain, the maneuver at issue plainly does not rise to the level of “excessive
force” necessary to establish an actionable Fourth Amendment violation. See, Ferebee v. City of
New York, 2017 WL 2930587, at *8 (S.D.N.Y. 2017)(“Merely lifting the arms of a handcuffed
arrestee is not an unreasonable use of force”); Perlesshi v, Cty. Of Westchester, 2000 U.S. Dist.
LEXIS 6054, at *18 (S.D.N.Y. 2000) (cuffing an arrestee and raising his arms to purposefully
cause momentary pain is not excessive force as a matter of law); Vogeler v. Colbath, 2005 U.S. |
Dist. LEXIS 44658, at *31-35 (S.D.N.Y. 2005) (granting summary judgment for defendants
where plaintiff was lifted off the ground by his arms while handcuffed); see also, Gutierrez v.
City of New York, 2015 WL 5559498, at *7 (S.D.N.Y. 2015)(“[e]xcessive force claims require
‘serious or harmful,’ not ‘de minimis’ use of force”); Biswas v. City of New York, 973 F. Supp.
2d 504, 529 (S.D.N.Y. 2013)(same).

Further, regardless of how the actions of Officer Amorim are characterized, no
“excessive force” claim is viable because the plaintiff cannot show that Officer Amorim’s
actions resulted in any injuries, much less any injuries of sufficient severity to establish an
actionable Fourth Amendment violation. Although the plaintiff did present to the St. Luke’s
Cornwall Hospital emergency room two (2) days after the incident in question, x-rays taken of

the plaintiff's left shoulder revealed entirely normal findings, without evidence of an injury.

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Exhibit “N.” Further, and in accordance with the narrative report and moving affidavit of Dr.
Bradley Wiener - a board-certified orthopedic surgeon - the plaintiff's left shoulder was not
maneuvered by Officer Amorim in a manner that caused any injury to the plaintiff's shoulder,
and, there was no objective evidence supporting the existence of any injury at all resulting from
the actions of Officer Amorim on March 17, 2014 date. Dr. Wiener Affidavit, {] 7 to 9. The
absence of an injury, or of an injury of sufficient severity resulting from Officer Amorim’s
removal of handcuffs, precludes the viability of the plaintiff s “excessive force” claim. Lemmo
v. McKoy, supra.

A claim that law enforcement officers used excessive force in the course of an arrest is
analyzed under the Fourth Amendment reasonableness standard. Graham v. Connor, 490 U.S.
386, 395, 109 S.Ct. 1865, 104 L.Ed.2d 443 (1989). In applying this standard, the law recognizes
that “ ‘[nJot every push or shove, even if it may later seem unnecessary in the peace of a judge's
chambers,’ violates the Fourth Amendment.” Id, at 396, 109 S.Ct. 1865 (quoting Johnson v.
Glick, 481 F.2d 1028, 1033 (2d Cir.1973)). To establish a Fourth Amendment “excessive force”
violation sufficient to support an award of damages under §1983, a plaintiff must show that the
actions complained of in fact caused an injury of sufficient severity to support the claim.
Morales v. City of New York, No. 13-cv-7667 (RJS), 2016 WL 4718189, at *4 (S.D.N.Y. Sep. 7,
2016)(“[a] successful excessive force claim requires sufficient evidence to establish that the
alleged use of force was serious or harmful enough to be actionable”); Jackson v. City of New
York, 939 F. Supp. 2d 219 (E.D.N.Y. 2013)(to succeed on a claim under § 1983 for excessive
force, a plaintiff must present sufficient evidence to establish that the alleged use of force is
objectively sufficiently serious or harmful enough to be actionable).

The law is well-settled that minor, temporary or de minimus injuries are not sufficient to

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support an actionable Fourth Amendment “excessive force” claim. See, Romano vy. Howarth,
998 F.2d 101, 105 (2d Cir.1993)\(“A de minimis use of force will rarely suffice to state a
Constitutional claim”); Lemmo v. McKoy, 2011 WL 843974, at *5 (E.D.N.Y. 2011 (“...the
Second Circuit and district courts in the Circuit recognize the concept of “de minimis’ injury
and, when the injury resulting from alleged excessive force falls into that category, the excessive
force claim is dismissed”). Here, the record evidence establishes, at best, that the plaintiff, who
had been handcuffed behind her back for approximately an hour after her initial arrest, may have
experienced some minor pain or discomfort resulting from Officer Amorim’s raising of the
plaintiff's left arm to remove handcuffs; however, the nature of this type of “injury” is just not of
sufficient severity to support a claim of Constitutional dimension. See, Smith v. City of New
York, 2010 WL 3397683, *10 (2010) (“Courts in this Circuit have consistently held that an
injury is de minimis when it is temporary and/or minor in severity’) (collecting cases); see also,
Richardson v. New York City Health and Hospitals Corp., 05 Civ. 6278, 2009 WL 804096, at
*10 (S.D.N.Y. Mar.25, 2009) (injuries held to be de minimis for purposes of defeating excessive
force claims include short-term pain, swelling, and bruising).

VI. OFFICER AMORIM IS ENTITLED TO QUALIFIED IMMUNITY

 

To the extent that the plaintiff, for the reasons noted above, cannot establish that Officer
Amorim’s actions amounted to either an “unreasonable seizure” or the use of “excessive force,”
Officer Amorim is necessarily entitled to qualified immunity for her conduct. See, Richardson v.
Providence, 2011 WL 3701887, at *7 (E.D.N.Y. 201 1) (“In light of the court's conclusion that
[the defendant] did not use excessive force against plaintiff, the court necessarily also holds that
he is entitled to qualified immunity with respect to this conduct.”). Nevertheless, even assuming,

arguendo, that it might be concluded that what transpired on the March 17, 2014 arrest date

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amounted to a Fourth Amendment violation (and, as noted above, no such violation occurred),
Officer Amorim is entitled to qualified immunity for her conduct.

The defense of qualified immunity is available to a law enforcement officer sued on
claims sounding in “excessive force.” Lennon v, Miller, 66 F.3d 416, 425 (2d Cir. 1995); see
also, Finnegan v. Fountain, 915 F.2d 817, 822-23 (2d Cir.1990)(*...the qualified immunity
defense is generally available against excessive force claim”).

Police officers are entitled to qualified immunity in § 1983 suits brought against them in
their individual capacities if “their conduct does not violate clearly established statutory or
constitutional rights of which a reasonable person would have known.” Harlow v. Fitzgerald, 457
U.S, 800, 818, 102 8.Ct. 2727, 73 L.Ed.2d 396 (1982). The law recognizes that a governmental
official is entitled to “breathing room” in carrying out her job functions, and will be protected
from actions and decisions that are objectively reasonable, even if it turns out that same were
mistaken in terms of an implicated Constitutional principle. Messerschmidt v, Millender, 565
U.S. 535, 132 S.Ct. 1235, 1249, 182 L.Ed. 2d 47 (2012) (“Qualified immunity gives government
officials breathing room to make reasonable but mistaken judgments”)(internal quotation marks
omitted). In this regard, the qualified immunity doctrine protects “all but the plainly incompetent
or those who knowingly violate the law.” Ashcroft v. al-Kidd, 563 U.S. 731, 131 S.Ct. 2074,
179 L.Ed.2d 1149 (201 1)(internal quotation marks omitted). If police officers of reasonable
competence could disagree as the legality of specified actions in their particular context, the
protections afforded by the qualified immunity defense apply. Burgess v. Town of Wallingford,
569 F. App'x 21, 24 (2d Cir. 2014).

The courts have described qualified immunity as a forgiving standard, which protects all

but the plainly incompetent and those who knowingly violate the law. Provost v. City of

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Newburgh, 262 F. 3d 146, 160 (2d Cir. 2001). Only where an officer’s judgment is “so flawed
that no reasonable officer would have made a similar choice,” is the denial of qualified immunity

appropriate. (Provost, supra 262 F. 3d at 160).

 

In this case, there is no viable basis upon which it can be said that Officer Amorim should
have understood that her actions in conducting a pat-down search of the plaintiff at the James
Baird State Park, and in removing handcuffs from the plaintiff at the Town of East Fishkill
Police Station, violated the plaintiff's Constitutional rights under the Fourth Amendment. More
particularly, to the extent that Officer Amorim’s pat-down search involved contact to the
plaintiff's genital area or her breasts, as alleged by the plaintiff, the nature of the search
described simply does not amount to an unreasonable one in accordance with the Fourth
Amendment, nor would all competent police officers perceive it as so, See, Golden v. Cty. of
Westchester, 2012 WL 4327652, at *5-6 (S.D.N.Y. 2012)(even assuming that police officer
touched plaintiffs breast and genital area during pat-down, a constitutional violation was not
established where search was minimally intrusive); Wang v. Vahldieck, 2012 WL 119591, at
*10 (E.D.N.Y. 2012)(even crediting plaintiffs account that police officer reached under
plaintiff's shirt during search and touched plaintiff's skin, same does not rise to a violation of
constitutional proportion); Wright v. City of Waterbury, 2011 WL 1106217, at *7 (D. Conn.
2011)(even if Officer Martinez's cross-gender search of Wright was to be determined a
constitutional violation, the Court finds that Officer Martinez and Officer Allen are protected by
qualified immunity. Officer Martinez's search was objectively reasonable—in the course of a pat
down search, regardless of gender, it is not unreasonable that a police officer's hands would
make contact with an arrestee’s groin area and Wright does not claim that Officer Martinez's

search of his groin area involved any other inappropriate conduct).

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Moreover, although the plaintiff alleges contact to her vaginal.area during Officer
Amorim’s pat-down search at the James Baird State Park, the records (and the plaintiff’s own
pleadings for that matter) indicate that whatever vaginal pain the plaintiff experienced was not
due to trauma, but instead, to the claimed failure — on the part of several law enforcement
agencies (not just Officer Amorim) - to provide the plaintiff with a sanitary napkin. See, Exhibit
“B,” {[{] 69 to 74, 88 to 89, 102 to 103; 106 to 109; Exhibit “M.” See, Adedeji v. Hoder, 935 F,
Supp. 2d 557, 574 (E.D.N.Y. 2013)(“... in an excessive force claim, to recover compensatory
damages a plaintiff must prove that any injury suffered was proximately caused by the
unreasonable force at issue...”). In any event, regardless of the cause of the plaintiff's vaginal
discomfort, the plaintiff conceded that her entire treatment for same consisted of a single visit to
the emergency room the day after her arrest, and that her pain thereafter entirely resolved within
48 hours. Exhibit “L,” p. 113, lines 20 to 25, and p. 97, lines 13 to 16. The plainly de minimis
nature of this so-called injury is, as noted above, insufficient to support an actionable excessive
force claim. See, Cunningham v. Rodriguez, 2002 WL 31654960, at *4 (S.D.N.Y. 2002)(“... the
plaintiff must show that the alleged use of force is ‘objectively sufficiently serious or harmful
enough’ to be actionable”); Sachs v. Cantwell, 2012 WL 3822220, at *14 (S.D.N.Y. 2012)(“...
on an excessive force claim a plaintiff must present sufficient evidence to establish that the
alleged use of force is objectively sufficiently serious or harmful enough to be actionable. A de
minimis use of force will rarely suffice to state a Constitutional claim”)(citation and internal
quotation marks omitted); Lemmo v. McKoy, 2011 WL 843974, at *5 (E.D.N.Y. 201 1) (“[T]he
Second Circuit and district courts in the Circuit recognize the concept of ‘de minimis’ injury and,
when the injury resulting from alleged excessive force falls into that category, the excessive

force claim is dismissed”).

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With respect to Officer Amorim’s removal of handcuffs from the plaintiff at the Town of
East Fishkill Police Department, there is no viable basis to support the allegation that Officer
Amorim should have understood that her actions were in violation of any Fourth Amendment
requirements. As indicated above, Officer Amorim’s removal of the plaintiff's handcuffs is
depicted on video surveillance, and the fact that Officer Amorim lifted the plaintiff's arm to
enable her to unlock the handcuff from her left wrist is not an action that can be fairly
characterized as the use of force, much less excessive force, of Constitutional dimension.
Exhibit “Q.” And, even if Officer Amorim’s maneuver could be characterized as the application
of force within the meaning of the Fourth Amendment, the complained of action did not
constitute excessive force, nor was there a basis for Officer Amorim, much less all officers of ©
reasonable competence, to have understood that these actions were unconstitutional in
accordance with existing law. See, Ferebee v. City of New York, 2017 WL 2930587, at *8
(8.D.N.Y. July 6, 2017)(“Merely lifting the arms of a handcuffed arrestee is not an unreasonable
use of force”); Perlesshi v. Cty. Of Westchester, 2000 U.S. Dist. LEXIS 6054, at *18 (S.D.N.Y.
Apr. 24, 2000) (cuffing an arrestee and raising his arms to purposefully cause momentary pain is
not excessive force as a matter of law).

CONCLUSION

For all of the foregoing reasons, it is respectfully requested that the instant motion, made

on behalf of Police Officer Amorim, for summary judgment dismissing all claims against her,

pursuant to FRCP Rule 56, be granted in its entirety.

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Dated: New Windsor, New York
August 11, 2017

Yours, etc.,

we LAL.

ADAM L. RODD (AR-3484)
Attorneys for Defendant,
POLICE OFFICER AMORIM

555 Hudson Valley Avenue
Suite 100 .

New Windsor, New York 12553
Tel. No.: (845) 561-0550

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DRAKE LOEB™

555 Hudson Valley Avenue, Suite 100, New Windsor, New York 12553
Phone: 845-561-0556

 
